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served that I am to show up in family court the next morning to respond to
Raheem’s charges. She tells me I will be charged with contempt of court if I do
not show up “as she as an officer of the court was ordering me to appear even
though there was no time to serve me with a subpoena (sic).” She tells me her
only concern is that “an innocent black man has been sitting in jail for 24
hours...” I ask to speak with her supervisor to show her my proof and have my
neighbors interviewed etc. and Ms. Strohbehn informs me that “she already
checked with her supervisor (Audrey Moore) and that she has been given carte
blanche to dea! with me with finality.” I am instead thrown out of her office.
My landlord and others try to speak with Ms. Strohbehn to introduce
investigatory evidence and she rebuffs them (please see attached letters from
landlord, Adam Gargani, My neighbors Marilyn Benetatos et al about Ms.
Strohbehn’s and ADA Kenya Wells’ refusal to investigate.

1. The conduct on which I base my complaints about the MDAO and NYPD includes (but
is not limited to):

a. stripping me of my First Amendment Rights to petition the Government
for redress of grievances

b. knowingly keeping me under unreasonable seizure for an elongated
period of time during my false arrest and drawn-out prosecution lasting
approximately two years (during which the seizure continued) denying me my
Fourth Amendment right against unreasonable searches and seizures

c. eschewing my Eighth Amendment rights by denying me police services
asserting excessive and unusual punishment

d. Denying my Sixth Amendment right to a speedy trial

e. Depriving me of my Fourteenth Amendment rights to not be deprived of life,
liberty or property without due process of the law

f. denying me my Sixteenth Amendment right to equal protection under the
law.

g. The Causes of Action include but are not limited to: Malicious
Prosecution, Intentional Infliction of Emotional Distress, Abuse of Process, Actual
and Constructive Fraud, Negligent Misrepresentation, Denial of Due Process and a
Fair Trial (under 42 U. S. C 1983), Deprivation of Liberty, Negligent Hiring,
Training and Supervision as the MDAO, the NYPD & the City of New York: (1)
unjustifiably denied me any police services; 2) refused to investigate my claims of violent
physical abuse (3) instructed for my arrest me without probable cause; (4) maliciously
prosecuting me for crimes against my batterer under the false pretense that I had made up
my claims of abuse (5) conspired to present falsified evidence to, and to withhold
exculpatory evidence from, a seated family court judge ((UDGE SATTLER) and seated
NY Supreme Court judge ((UDGE DAWSON); (6) deliberately suppressed material
evidence of the true nature of my status as a domestic violence survivor from the trial
file; and (6) manufactured evidence that I was a "Fabricator" who insinuated her own
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injuries on herself. 7) Thwarted my right to due process by insinuating I was in fact a
violent abuser and not a crime victim in open court. 8) Conspired to manufacture
evidence/perjury.

2. I was arrested and charged with 325 counts of aggravated harassment and one count of
Contempt of Court as I sat in front of a family court judge (Judge Sattler on March 8,
2011) as I was trying to get a restraining order extended against my violent batterer. I
served between eight to ten days incarcerated in the tombs and on Rikers Island and years
repeatedly going back to court monthly--sometimes more often--to stand accused by a
system that should have been prosecuting my batterer: But he walked free.

3. The cases against me were eventually ordered dismissed and sealed on July 24, 2012 by
the I-DV division of NY Supreme court I was never given an explanation as to why or
even permitted to stand in front of the judge and add something onto the record about my
disgust and despair at the way I was treated by the Police and the DA's office. My
batterer was walking free: everyone in my community was looking at me in strange ways
and distancing himself or herself from me. Others openly confronted me in the
neighborhood: I was assaulted by various people who had known my batterer for
decades who had heard swirling rumors fueled from the actions of the 28" precinct. For
two years the pallor of serious criminal charges hung over me: the threat of incarceration
for many years and the complete alteration of the life I had built for myself. I was not
about to take a plea that admitted any sort of guilt for crimes of any kind. I was the one
who had gone to the MDAO and the police for help.

4. I feel strongly that the MDAO can choose to decline to prosecute a batterer if they don't
have enough proof to bring charges against him/her but this is not what happened in my
situation. They flat-out denied any investigation of my claims of abuse even though there
was plenty of evidence supporting my story. I have advocated for myself and had
representatives from the Mt. Sinai/St. Luke’s Roosevelt Hospital’s Crime Victims Center,
Connect NYC, Senator Gillabrand's, Public Advocate Leticia James, and Council
Speaker Quinn and other Domestic Violence Advocacy groups review my case and lobby
on my behalf as well. There is a mountain of evidence and the Domestic Violence
community in town has been supportive of me. The 'authorities' never interviewed
neighbors (and even lied about this), never looked at or compared photos of my severe
injuries to hospital emergency room reports, and refused to collect/accept other evidence
such as 911 calls, receipts for repair work for broken windows or doors that have been
kicked down as well as other evidence that proves that constant battery had taken place.
They accused me of fabrication without even knowing or seeking to examine the facts
and then initiated an elongated, over-zealous, and incorrectly-charged criminal
prosecution of me based on the belief that I was a fabricator. This is anathema at best and
police/ prosecutorial misconduct at worst.

5. I spent tens of thousands of dollars defending myself and my life has been turned upside-
down as a result of the accusations levied at me. I have fallen into financial ruin, can’t
get a job and have a debilitating psychological disorder as a result of the battery and re-
victimization by the “judicial” system. I have been diagnosed with Complex Post
Traumatic Stress Disorder by Psychiatrists and social workers at the Mt. Sinai/St. Luke’s
Roosevelt Crime Victims Center where I have been in treatment for over two years and
by members of the James B. Zadroga 9/11 Survivors’ Federal Healthcare program at
Bellevue Hospital.
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6. Since the time of my troubles with the 28" pct. and DAs office I have been attacked
many times in NYC in various forms and each time I call the police I am told that I am no
longer entitled to Police services as per the edict of the Manhattan District Attorney's
office. This is a violation of my 14" amendment rights to equal protection under the law,
my first amendment right to redress the government for grievances, and my fifth
amendment right to due process.

7. On several occasions I was beaten and went to the 28 pct. bloodied and bruised and was
told by desk Sergeant Agron at the 28" pet. that I was not allowed police services. The
DAs office has continued their posture that I am a fabricator even after charges have been
dismissed against me and continued to inform the NYPD not to take any complaint from
me in violation of my Constitutional rights. When I have been assaulted and complaints
have been made the DAs office has instructed the precinct involved not to pursue charges
against the perp. This has happened on numerous occasions notably: 6/3/2013, 5/17/13,
10/17/12, 07/27/12: (incident #2012-020-2969 described above), 7/14/12, 4/17/12,
1/20/12, 12/1/11, 8/13/11, 8/4/11, 8/2/11. I can provide incident IDs that were never
followed up on, proof that the officers refused to even take a report, or Jaywalking tickets
issued to me for the latter date when officers from the 28" pct. engaged in outright
harassment of me (e.g. Docket Number 2013SN053520 was dismissed on 8/27/2013).
Most frustrating is that the police have been instructed not to assist me or to prosecute
those who do harm to me. The 28" pet. constantly harassed me when they saw me in the
neighborhood. In June of 2013 I was en route to the train passing the precinct and the
detectives yelled out my name from the second-story squad window and then proceeded
to MOO at me as if] am a Cow. Other times the cruisers pass me on the street and make
sucking sounds at me (insinuating sexual acts with their crude verbosity,) other times
they would pull their cruisers over and slap me with a jaywalking ticket even when I
wasn’t jaywalking.

8. The emotional pain and suffering from these events is overwhelming. I’ve lost
everything I worked for: most beloved was my personal identity, my career and my
sense of place in life. I was at one time trusted and loved professionally until my world
fell apart because of this mess. I more than anything want my name back and I want to
continue to do the good work I was producing. I struggled to build a beautiful life for
myself. Now I'm trying to put the pieces of my life together but nothing is easy and my
troubles seem to compound as time slips by.

9. I would appreciate you taking the time to look over some of the links I've provided below
so you can get an idea of the high-level I used to operate at vs. where my life is now
because of the malicious mis-handling of my case. The links are to examples of news
production I did and to the kinds of people who trusted me with their lives. I ran the
world's top photojournalists in and out of war zones and covered top stories on all fronts
for the past decade. I had achieved a high level of respect and admiration based on trust
and love. Now my life is literally in tatters. Credibility is key to the journalistic
community and the pallor of criminality still follows me as a result of the bad arrests and
prosecutions concocted for me between the NYPD and the DAs office.
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10. I began the careers of many journalists such as David Rochkind: his work on the drug
wars in South America spans a decade of reportage we produced together. The Guardian
just did a review of his book co-produced with the Pulitzer Center:

a. http://www, guardian.co.uk/artanddesign/photography-blog/20 1 3/jan/25/mexico-
drug-war-photographer-david-rochkind?intemp=ILCMUSTXT9384

11. Scout Tufankjian was asked to be President Obama's White House Photographer after her
comprehensive coverage of his 2008 campaign. I was Scout's editor who stewarded all of
her work with the campaign: Scout even mentions me as the reason for her success when
interviewed on the Charlie Rose show:

a. http://Awww.charlierose.com/view/interview/10026
b. http://www. scouttufankjian.com/#/yes-we-can---the-book

12. Photographers such as Max Becherer, Christoph Bangert, Johan Spanner and Mitchell
Prothero needed help getting into Iraq to work. I not only got them safely in and out of
the country hundreds of times I trained them on how to operate while there and
subsequently all became full-time freelance staffers at the NYT House in Baghdad
kicking-off their careers as war photographers.

a. http://maxbecherer,com/#/the-dark-days-irag/O1182013 Becherer_ IraqDark00|

13, Exclusive access inside the home of Benazir Bhutto in Pakistan while she was placed
under house arrest by the Pakistani government upon her return after years in exile a
week before her assignation:

a. httpi//www.time.com/time/photogallery/0.29307.1683694 148535800. him!)

14. I worked with Stephanie Sinclair who gained a never- before-seen intimate portrayal of
the family of polygamist Warren Jeffs for the NYT Magazine (Winner of National
Magazine Award for Best Cover Story, 2009)

a. http:/Awww.childbrides.org/raid NYTimes _children_of God.htm|

15. Here are links to some of my 9/11 photos I took myself as I fled away from the falling
towers:

16. hitp://digitaljournalist.org/issue0609/watching-Lhe-world-change html

17. http://www.amazon,co.uk/102-Minulen-erz%C3%A4hite-Geschichte-

sr=1-11

18. http://Awww.nytimes.com/2001/09/23/arts/the-aftermath-peering-into-the-abyss-of-the-
future. html °

19. http://www.time.com/time/magazine/article/0,9171.1053663.00, html

20. http:/Avww.thetimes.co.ul/tto/news/uk/jubilee/article3 35313 Lece

21. I worked with photojournalist Evelyn Hockstein on many stories including the origin of a
new deadly super-virus in Angola:

a. hittp://waww.nytimes,com/2005/04/1 7/international/africa/17angola,.huml? 1=0

22. I positioned photojournalist Robert Stolarik in NOLA days before hurricane Katrina and
more than supported his efforts to document the events during and after the storm: We
won many awards that year and Robert's coverage secured him a staff position at the
NYT: hittp:/Avww.nypress.org/KA TRIN A/index html

23. There are literally thousands of other pieces I could show you but the above offers a
glimpse I think into the life of the person I once was before being cast as a pariah by the
people sworn to protect me. Please help me make sure this doesn’t happen to other
women in NYC and to help me move forward and try to restore myself the status I
occupied before the malicious arrests and prosecutions.
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I have been unable to attain work in my field of photojournalism because the MDAO
destroyed my credibility, The most valuable possession that an editor/journalist has in
this worl is HER CREDIBILITY. Nothing I can do myself will help restore me to the
status I enjoyed in the wake of the MDAO’s reckless, criminal, unconstitutional, and
malicious behavior towards me: an innocent crime victim.

I miscarried a child I was pregnant with by Mr. Powell in the Spring of 2011 and had to
suffer through incarceration at Rikers Island on Mother’s day.

I have a debilitating psychiatric condition (C-PTSD) as a result of the pain and suffering
foisted on me not only by Mr. Powell and his family and friends but also by a judicial
system hell-bent on ruining me.

I came to the MDAO and NYPD in 2010 about my situation as I was suffering severe
physical, mental, and economic abuse and instead of assisting me they chose to throw me
to the wolves and put me in Riker’s Island for alleged crimes of harassment I supposedly
purported against my batterer. When I went to the NYPD for help in freeing myself from
my batterer not one person in the precinct took the time to meet with me and review the
many pieces of evidence that I had proving that I had not fabricated my own injuries; the
stance the detectives in the 28 squad and the Manhattan District Attorney’s office took in
order to protect my batterer who was involved in several prosecutions they had already
set in-motion against other parties not associated with me.

My batterer (Raheem Andre Powell) enjoyed a privileged status with the MDAO and
NYPD as a result of several incidents: he had assisted in helping the police previously
and warned me that I would be unable to find sympathetic ears regarding his violence.
More recently Powell had been a complainant in an attempted murder case wherein his
marijuana distribution hideout was robbed in December of 2010 by an armed member of
a central-Harlem gang. During that robbery Powell was shot at by the perpetrator as he
chased him up nearby Frederick Douglas Boulevard in front of the 28th precinct. That
young robber/shooter was key in unraveling knowledge about the “Goodfellas” and
“137th st” gang in Central Harlem which were ‘brought to justice’ under fanfare and
several public press conferences by the district attorney’s office. Powell also had
knowledge of other gang-related (Crips/Bloods) activities that involved the murder of his
cousin, Andre, in broad daylight on the corner of 115th and Lenox in the Fall of 2010
among other pieces of information he on passed to the police. As ADA Strohbehn at the
time was a junior member of an anti-gang task force in Harlem (See Exhibit # 18
Strohbehn Linked in Resume) I have a very hard time understanding why Strohbehn
was allowed to be the only ADA to evaluate the veracity of my complaints when it
was known that my Batterer was an active participant in one of her investigations
and clearly she would need to defend his credibility to assist in her *case-building
(*self-promoting career-building too.) Strohbehn after ‘cleaning up’ Harlem as a
Junior member of the anti-gang squad has been PROMOTED to now be the
SENIOR LEADER on a similar squad centered in MIDTOWN! (see Exhibit #18
Strohbehn linked-in resume).

My complaints as a battered intimate-partner against Powell fell on deaf ears at the 28th
precinct nearby to my former home on w. 120th st in Manhattan. I was caught up in a
miasma of legal posturing and wrangling as the DAs office made a case against me for
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hundreds of counts of alleged aggravated harassment I supposedly committed against
Powell (Exhibit #s 4 & 5) Without examining one hospital emergency room record,
speaking to one neighbor, examining the receipts I had for various broken windows,
kicked-down doors, or examining the photos of my injuries I was labeled a fabricator and
liar. Branded a pariah I was thrown into jail, miscarried the child fathered by Powell I
was carrying, and began suffering serious symptoms of Complex Post Traumatic Distress
Disorder. Everything I had worked for in my life burned around me as my credibility

was lost. My friends and neighbors looked at me with disdain and disbelief as swirling
rumors fueled by the actions of the police and DAs office gave people incredulous pause
whenever they confronted me. On many occasions I was physically attacked in the
neighborhood by people I knew loosely in the street.

II. Rough timeline of events involving violence
against me by Powell

30. August 2009—First Beating I suffered at the hands of Powell People I told about first

31.

incident and/or who saw bruises/marks on me after incident (I went to a party that night
with friends and was in shock still as the beating had taken place in the early morning):
Friends who attended Party: James Price-Newsweek Magazine: 718. 872.8544 or office:

 

Fall 2009: I receive a visit from best college friend from Mount Holyoke, Amy Carter,
from Seattle while she is in town on Business. She comments on how | live in fear of my
boyfriend: she is upset that even though she is taking me out to dinner I still have to
prepare meal for Raheem and that he calls me several times throughout dinner to check
up on me and question me jealously about my whereabouts. After her visit she sends me
a letter fearful of my circumstances, begging me to take a hard look at why I am in
relationship and encouraging me to leave Raheem.

Amy Carter

The Bill & Melinda Gates Foundation

Senior Program Official, Private Gifts

Seattle, WA

206 709 3282

206 612 6496

206 691 1655

32. Beatings Continue through fall of 2009 and winter of 09/2010.

People who heard domestic disputes:
Tammy Grinder upstairs neighbor (646 228 1469)
10

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Jared Love (upstairs neighbor in #3—Landlord Adam Gargani has his contacts 347 237
0100)

People who called the Police when they feared for me b/c of Raheem:
(neighbor) NYC Public School Teacher. 646 320 6145
Tammy Grinder (definitely called police on night of 11/12—646 228 1469)

33. People who saw bruises/marks on me:
Neighborhood drivers from Harlem Transport—cab base around the corner:
Modou 347 751 4211
Dee and Marilyn; 347 203 2623

34. Neighbors:
Brianne: ask landlord for number ex-girlfriend of Jordon Love (Adam Gargani is
landlord: 347 237 0100)
Tony: Photographer who lives at 231 w 120th apt #3: he took pictures when Raheem
would beat me: (212 729 7434)
Faisal: ask landlord for number—he and his wife have moved back to Iran I believe but
they witnessed Raheem punching me and preventing me from entering my home (Adam
Gargani is landlord: 347 237 0100)
Feliciano My building super, witnesses Raheem push me and hit me in front of my home
in the spring of 2010: (646 201 1096)
Marcel: the son of Maria Robinson. Lives at 232 w 120th #1 (cq)
Dee & Marilyn Benetatos: Owners and Residents of 231 w 120th st: witnesses bruises
on me on numerous occasions. 347 203 2623
Maria Robinson: Lives across street: witnesses Raheem Beating me on 12/20/2010 in
front of my home. Her son, Marcel, also saw bruises on me on numerous occasions
Maria died of Cancer in 2012)Todd Stevens: 212 350 8507 (my real estate broker from
Douglas Elliman—encountered me covered with bruises in sept of 2010 @ 28th precinct
as I tried to make a police report about beating.)

35. February 2010: suffer massive beatings: sent to Emergency rooms twice back to back @
St. Luke’s and Metropolitan to treat ripped cornea/black eyes Have Emergency Reports
Archived.

36. March 2010: suffer fabric burns all over upper body from Raheem ripping my clothes off
as I tried to flee and dislocated shoulder. Photos of injuries

37. April 2010: huge fight over Easter week. bruised badly-entire back and arms covered in
bruises: swollen jaw. sprained ankle.

38. Beatings continue whenever we fight throughout Spring of 2010

39. May/June 2010: call and visit 28th precinct multiple times to discuss how to get help.
Speak with young officer at desk: Officer Williams. (pretty, petite, Afro-American) she
witnesses bruises all over me and encourages me to make report. She warns me that he
will be locked up if I sign report. I beg her if there is a way to just give him a warning or
to help me just extricate myself from relationship. She says the only way Police can help
is if he is arrested. I leave station house without signing report.
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40. June 2010; Raheem attacks me with belt that is covered in metal bottle-caps. leaves
permanent bruises on me. Several people exclaim that my body looks as if it had been
run over by a truck. Dirk Caldwell VP of Sales at Black Enterprise witnessed belt marks,
347.865.5892

41. June 2010
kidnapped a raped at gunpoint by guy on long island named Ricky. I have address and
phone number still. Raheem indifferent—beats me up and blames me. I call svu and
discuss attack with female officer who tells me that I cannot make an anonymous report
to police. Raheem encourages me not to make report and he gets in shouting match on
phone with kidnapper. I have a longer brief about this incident that I have provided to
the OIGNYPD. I also tried to inform ADA Higgins nee Richendorfer about these events
in 2013 but she refused to take my brief. I have reported this incident to the OIG.

42. July 3 2010: Raheem attacks me as I leave my house to see friend Dirk J. Caldwell, SVP
of Sales, Black Enterprise who wants to take me to Carmine’s for dinner that evening.
He chokes me through my front gate and rips off my necklace and prohibits me from
leaving aedicule outside my front door. I have to call Police to get him to leave and
permit me to leave my home. Officers respond to 911 call. They encourage me to make
report—lI decline as they say he will be arrested. officers Loor and Chan respond.

43. July-September 2010: multiple blow-ups: police called to home on many occasions in
response to my calls and other complaints by neighbors.

44. July-September 2010: multiple trips to station house to discuss situation with Domestic
Violence officers McNair and Diaz, I fill out several reports and don’t sign. Many
photos taken at precinct of my injuries. I discuss abuse with Officer Williams at the 28"
precinct on multiple occasions. She is a beautiful, young, afro-American officer who sat
at the desk Sergeants’ desk. She is very sympathetic but adamant that there is no way
police can intervene unless I sign a complaint against him for felony assault.

45. September 2010: multiple calls to Police. Front Windows smashed and replaced several
times. Door kicked in, locks broken, locksmiths called. Locksmiths and glass companies
have records of damages and repairs.

46. October 11, 2010: Raheem tackles me and beats me in street at intersection of 118th and
st. Nicholas Ave (NW corner.) He beats me with his fists and cell phone and Police are
called. Police encourage me to make a combined report of stolen license plates, car, and
Domestic Abuse all n one. I’m not given copy of report. Police take extensive photos of
face, back and torso with bruises all over. Officers instruct parking garage to not allow
Raheem to take my car out of garage. Raheem bribes parking lot owner and takes car
even though Police helped me remove one license plate and park suv in front of car.
Witnesses: Levertt (number above) and a girl named Jenn I know from the Dog Park
(can get her number) (Please see photos dated Exhibit #1 10/11/10)

47. October 14, 2010: (Double check date of desk appearance ticket issued me—day could be
one day later or earlier) Blackmailed and life threatened: dogs’ lives threatened by
Raheem. Says he will “ruin” me by telling ex colleagues and family private info about
me if he gets arrested for Domestic violence, if I leave him, or if I fail to pay his bills.
12

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Forced to go to precinct and ask for help. I explain to officer McNair and Detective
Simmons that I’m being blackmailed and Raheem is blackmailing me and if he gets
arrested everyone will know etc. Detective Simmons states the only way to dismiss
complaint filed without my permission is that she needs overtime that week and by
arresting me for making a false statement she will receive it. She says since I’ve never
been arrested that this will not be an issue and I won’t go to jail. She helps me write
simple statement saying I caused bruises to my face be we were in a fight and I was mad
etc. I’m arrested and given a desk appearance ticket for falsifying a police report. I agree
to plan as attack had happened in PUBLIC on a STREET CORNER in BROAD
DAYLIGHT and I knew if ever investigated that it would be proved that I was not lying.
When I appear in court to answer on the DAT a month later the DA declines to prosecute
when I make court appearance and issues an ACD which I do not sign or agree to.

Night of November 11/12 2010: Raheem breaks into my house and is waiting for me
when I come home. I had been at Amsterdam Ale House for dinner. Police saw me
(officer Loor) come home as they beeped at my taxi to move aside when I was paying
fare and waved at them when I disembarked. When I entered my home Raheem attacked
me, stole my money and choked me until I passed out on my living room floor. When I
regained consciousness I tried to run for door and screamed for help. At that point
Raheem tried to detain me and I was thrown/pushed through a 30 gallon fish-tank. When
Raheem realized what he did he panicked and stepped in the glass to pull me out of tank
as I was sitting in glass and foul water. He stepped on glass in his flip-flops and needed
to be treated months later in December or early January at st. Luke's for an infection he
suffered from a shard of glass lodged in his foot from that evening that had become
infected. Neighbors all called police and they were pounding on my door: there must
have been 30 officers in my house that night. After much arguing with police (Raheem
had disappeared out the back door) I was taken to Metropolitan Hospital and treated. The
FDNY ambulance workers (Valentin was one of them) remember the incident and how
strange the police were acting. The doctor who treated me can also comment on this (dr.
Albert Della Fave—ER Resident.) MANY neighbors heard me screaming for my life
and called police that night. survey 911 calls

Medical Professionals who Treated me:

EDNY Valentin: see copy of FDNY ambulance report (EXHIBIT #2)

Dr. Albert Della Fave: Metropolitan Hospital ER Resident: 212 423 6262 to attain a copy
of DELLA FAVES INTERNAL DISPOSITION describing events with police and my
treatment beyond the scope of what is in my medical records. (see EXHIBIT # 2

Hospital emergency Report)

November 17, 2010: Beaten by Nancy Powell, Raheem’s mother when I go to her house
to ask her for help in extracting myself from relationship/getting my car and other
belongings back. Face completely covered in blood and deep scratches from her fake
nails digging into my flesh. I have permanent facial scarring as a result. (See Exhibit # 1
Photo of deep scratches on face dated 11/17/2010) Nancy Powell was given an ACD
which she violated by being re-arrested for marijuana possession six months later but the
Das never prosecuted her. (2010NY092185).
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November 22, 2010: after lying in bed frightened and starving for five days while my
house is trashed (rocks thrown through front window, flowerpots broken, doormat in
front of front door stolen, trash cans tipped, doorbell constantly rung to the point I had to
disable it) I go to the police in fear of my life. Police see the damage on my face still five
days later and allow me to make report against Nancy Powell however they refuse to
allow me to make a report about the November 1! 1/12 incident where Raheem threw me
through a fish tank and instead the precinct instructs me to go to family court to attain a
restraining order against him which I do (Exhibit # 26) I take it to police to serve and they
tell me to come back. I return a few days later with Family Court restraining order to
serve again and the precinct refuses to act on it. This continues for weeks.

December 22nd, 2010: beaten, robbed, dragged into street by Raheem after he breaks
into my house and steals my money and phones. Multiple witnesses call 911 for help.
Precinct desk sergeant Agron tells me when I go to make report that he will arrest me for
trespassing if I don’t leave the precinct. Refuses to act even though I have an active
restraining order against Raheem. He refuses to look at it let alone serve it. I call 911
from inside precinct to report his conduct and the operator tells me they can’t do anything
to help me.

More fights through December 2010 and January 2011. ***I attempt to lock Raheem out
over Christmas and Raheem incessantly pounds on door and windows calling me all
night for two days when I wouldn’t let him in********] had a friend staying with me,
Dirk Caldwell from Black Enterprise. He witnessed this barrage of harassment and
vowed to only return to my house ‘with a gun to protect himself.’ Dirk Caldwell VP of
Sales at Black Enterprise witnessed Raheem trying to break down my door and his
incessant pounding on my windows 347.865.5892

January 27th 2011: fight with Raheem. I go to precinct to make police report of incident
and sergeant Agron again tells me that the only thing he can do for me is to “move me to
Nevada” (implying that I am a some kind of filthy degenerate prostitute unworthy of the
NYPD’s assistance.) (See texts from Powell EXHIBIT #12)

January 28th 2011: I make appeal to detective Simmons to help me. She is disgusted at
Agron for his treatment of me and insists I make reports about 12/20 and 1/27 incidents
to DV officers when they are in the next day. Simmons agrees to help me if] tell her
everything I know about Raheem’s drug-dealing and his connections etc. I ask about
signing a complaint for injuries dating from 11/11/2011 and Simmons tells me its too late
that the precinct will look bad.

January 29th 2011: Interviewed by DTs about Raheem’s drug sales enterprise. They
never ask me to show them pictures, ER reports or anything related to my abuse
whatsoever etc. Detectives tell me the only way they will help keep Raheem away from
me and to get my car back from Raheem is if 1 press charges against Raheem.

January 30th 2011: DV officer McNair takes report of 12/20 incident and encourage me
to make report about 1/27 incident. I am leery b/c no one saw him harm me on 1/27 but
people did see me harmed on 12/20. Precinct tells me that Raheem has been making

reports against me and that if I don’t make report about 1/27 incident “decisions may be
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made that are not in my favor.” I ask again to make a report about incident on 11/10 and
am told that; ‘ too much time has passed’ by officer McNair and that “the Precinct will
look bad” if they take a report for an assault that happened over two months ago even
though I was accompanied to ER by the SHIFT SARGEANT and over half a dozen blue
uniforms and at least two detectives.

January 31st 2011: file report regarding 1/27 incident.

February Ist, 2011 receive call from 28" pet DV officer McNair telling me Raheem has
been arrested and served with restraining order. he then asks me where I am and presses
me. He insists he must know my whereabouts. I refuse to tell him.

February 2nd 2011: receive call from DA Strohbehn: she tells me I have “less than an
hour” to get downtown to her office. When I arrive she and det. Simmons and another dt
from the 28 (George?) peppers me with questions, call me a liar. Strohbehn informs me
she is declining to prosecute Raheem, refuses to look at any evidence I have that supports
that I have not been making-up abuse, accuses me of running a dominatrix dungeon out
of my brownstone apt, informs me that if I make another report against RAHEEM that
she will ‘lock me up and throw away the key”. She also informs precinct that she will
personally handle all of my inquiries and if I have “a bullet-hole in my head that they are
to call her first before responding to any call from me.” She also encourages Raheem to
press counter-claims of harassment against me and instructs me that even though I
haven’t been served that I am to show up in family court the next morning to respond to
Raheem’s charges. She tells me I will be charged with contempt of court if I do not show
up. She tells me her only concern is that “an innocent black man has been sitting in jail
for 24 hours...”(See Exhibit #25 Powell’s family court complaint vs. me). My landlord,
Adam Gargani attempts to call her to introduce his perspective based on repeated reports
of abuse enacted on me at the hands of Powell and Strohbehn hangs up on him (see Letter
from Landlord Gargani Exhibit #3).

February 3rd: Powell tries to accost me on way out of family court. Judge denies his
petition for a reciprocal restraining-order ADA Maria Strohbehn refuses to help me file
report about Raheem’s conduct on way out of court building. I make report with Det.
Mortimer at 5th precinct of violation of restraining order. He is told to stand down
regarding investigation and arrest of Powell.

February 2011: I discover I am pregnant

Early February 2011: Neighbors tell me that nude photos of me have been texted around
to all the neighborhood boys. I call precinct and Strohbehn and no one will take report. I
call Mortimer and he tells me he can’t do anything. Lt. LArocca from the 28" pet
encourages me to make a report to the court and to the Department of Investigations as he
informs me that ADA Strohbehn has instructed the pct. to not take any reports from me.
(PLEASE CONTACT LT LAROCCA he has retired and rumored to be living in Florida.)

February-Marcy 2011 Numerous calls from Raheem from Pay phones remember many
and can pinpoint March 16th 10:30am repeated calls from him. please check my phone
records 212 470 5624 was my number then.)

February/March 2011: I make various calls to DV advocates/Mayor’s office complaining
about Strohbehn, how she never investigated my allegations and refused to prosecute my
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batterer. I am informed by ADA Larry Newman that Strohbehn is removed from my
case/investigating my allegations.

February 20th 2011: I call Raheem to tel! him about pregnancy. I was extremely
uncomfortable and in pain. We speak for hours/days on end about situation. Raheem
enraged that I will not return to him and that I am considering terminating my

pregnancy. He’s also enraged that I beg him to seek counseling for his abuse and battery.
I beg him to admit his wrongdoing for the sake of our unborn child and to take the
batter’s course. He is Beyond angry that I am now living in expensive loft in SOHO, that
I have a new boyfriend, and that I am considering an abortion.

February 23 (cq)2011: receive call from officer Diaz at DV office of 28th precinct asking
me to “come in to tell them how things are going.” I smell something fishy and bug out.
Officer McNair admits to me that Raheem made claims of harassment against me. He’s
surprised to find out that Raheem and I had been discussing my pregnancy. Tells me I
will be arrested.

February/March 2011: I miscarry my child. It is a long, drawn-out miscarriage painful
and protracted. I don’t even realize what is happening for the first week or so of the
miscarriage.

March 24th 2011: arrested in Manhattan family court by FOUR NYPD DETECTIVES
from the 28... Det. Simmons is called in front of Judge Sattler and lies on the stand (see
attached transcript from Family Court Exhibit #13). After she is allowed to cuff me in
front of Judge Sattler because she alleges she has investigated my claims of battery and
they are not credible she takes me to the 28" pct for booking and while there responds to
a question I ask her (after she calls me a liar and accuses me of making up abuse) by
saying: “Kelly: I don’t tell you how to lay {sic} flat on your back and spread your legs
when you do your job and I certainly don’t expect you to tell me how to do mine...”
while I am in the holding cell at the 28 DT squad room.

Later that evening as I am being arraigned the ADA standing in the court part, Ms.
Zeinreich, eagerly tells Judge she is filing and expedited count sheet and requesting for a
restraining order against me and filing a family registry this is before any member of the
Das office investigated any of my allegations. NO one asked me to sign HPPA forms, to
review photographs or for numbers of neighbors that could confirm my allegations.

May 2011: arrested by Dt. Fontanez for contempt of court. Not given time to make bail:
taken straight to Rikers island where I am beaten. Raheem’s cousin works on Rikers
island so I was treated with special disdain. Dt. Fontanez promises if I come with him
quietly that he will investigate my claims that Raheem beat me. Contract sinus infection
that causes hearing loss on Rikers. Rikers staff loses my belongings and refuses to give
me house keys when I am discharged. Corrections officers Montague and others I made
note of. They can vouch to the abuse I suffered while in custody of the NYCD. (Exhibit
#6)

May/June 2011: Jumped by women's shelter dwellers at 233 W. 120th st. who do drugs
with Raheem’s cousins across the street three times. Police called: they refuse to help.
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May/June/July 2011: constantly taunted by neighbors about beatings and called a whore.
Told my life is in danger by Raheem’s drug-pusher TY who was still slinging Raheem’s
drugs out of 239 w 120th st. #2.

AUGUST 2011: multiple attacks and constant taunting & harassment by neighbors with
allegiances to Raheem. Police take reports.

III. Events that led to the filing of Federal
Department of Justice/CCRB/IAB/DOI/OIG
complaints & details of those incidences.

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Complained July 15th, 2011 complaint # 11-31923 and #11-43253 that Dt. Simmons
failed to investigate my allegations of abuse at the hands of Powell, and that the 28th
precinct never investigated my complaints. No action was ever taken nor any report
provided back to Manhattan North liaison (as per officer Van Vorren and SGT Purcel on
Manhattan North Patrol Bureau desk.)

NEITHER ADA Maria Strohbehn nor Detective Simmons investigated my assertions that
I had been abused by Powell. They never inquired about the abuse and checked with my
neighbors, interviewed me about the abuse, reviewed the photographs (Exhibit #1) ,
hospital emergency room reports (Exhibit #2), receipts for broken windows and kicked-
down doors or to spoke with my neighbors who had heard and seen the constant

battery. They never investigated my claims of abuse at the hands of Powell before the
squad at the 28" precinct charged me with hundreds of crimes against Powell. They
failed to interview my landlord (Exhibit #3) and neighbors (and even lied about this),
never looked at or compared photos of my severe injuries (#1) or hospital emergency
room reports (#2); never requested that my sign HPPA forms (Exhibit #24) releasing
medical records, and refused to collect/ accept other evidence such as 911 calls, receipts
for repair work for broken windows or doors that had been kicked down that proves that
regular battery had taken place against my by Powell. They accused me of fabrication
without knowing or seeking to examine the facts and then initiated an elongated, over-
zealous, and incorrectly charged case against me.

ADA Strohbehn and Detective Simmons never investigated the facts of my abuse despite
the fact that on the night of November 10-11th, 2010 over thirty members of the 28th
precinct converged on my home. The police accompanied my ambulance to Metropolitan
hospital after I had been choked until passing out and thrown through a fish tank by
Powell (see Exhibit #2 hospital records and Exhibit #1 photographs of permanent
scarring from being thrown through fish tank). They never asked me to sign a HPPA
form or for permission to speak to various doctors that had treated me for the many
emergency room visits she made in 2010. They never interviewed neighbors who heard
constant battery and called the police beseeching them to help me before they accused me
of crimes and incarcerated me setting off a chain of events that would place me and my
life into a Devil’s cauldron of misery.

Simmons and I had had a previous encounter on October 14, 2010 when I begged the
28th precinct not to file a report of abuse that I wasn’t ready to submit. Officers Diaz and
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MeNair had told me that I could have a night to sleep on a report I was contemplating
making before they would initiate action on. I was not ready at that time to initiate a
prosecution against my batterer, Raheem Andre Powell, as he had threatened me with
blackmail and reminded me that he had Police connections and would ‘ruin me’ if 1
reported his battery to the police. Upon arriving at the 28th Precinct on the morning on or
about October 14th, 2010 and telling the DV officers McNair and Diaz that I was
choosing to not initiate prosecution against Powell for beating me on 10/11/2010 I asked
them to tear up the 61 report. The previous evening I had been told by the police that they
would allow me time to think about if I wanted to follow through with the filing of the
complaint against Powell. I was reticent to go forward with my claim against Powell for
several reasons including that Powell was blackmailing (Exhibit #12) me by telling me
that he would release intimately personal photos and information about me to my family
and colleagues if I ever went to the police about the battery he unhanded on me. (please
refer to exhibit #12, cell phone transcripts of messages sent to me from Powell proving
the blackmail). The DV officers had already elevated the report even though they had
promised not to and it had been assigned to Detective Simmons.

79. Simmons agreed to tear up my report against Powell only if I wrote out statement saying
I had made a false report and inflicted injuries on
myself. Simmons recommended this course of action as it was the easiest way to make the
situation go away. Simmons stated that she needed overtime hours that day and as it was
nearing the end of her shift and by booking me that day for filing a false police report she
would get some overtime hours. Simmons told me that as I had never been arrested that I
would only receive a Desk Appearance Ticket and that no one would go to jail. She also
warned me to keep my head down and that I should move out of the neighborhood because
from this point on “you’re on your own.” The report that I had made was for injuries
inflicted on me in public on the corner of 118th st. and St. Nicholas Avenue. The events were
witnessed by people known to me and I knew that if my story was ever followed up on that
the facts would come out so I agreed to Simmons’ plan. Simmons informed me that this was
the only way she would not arrest Powell based on my complaint filed without my permission
by the DV officers. Detective Simmons coached me on how to retract my statements: asking
me to rewrite a synopsis of events several times each time asking me to write the time at the
top of the page much earlier than the last so that Detective Simmons “could receive overtime
by catching the case with enough time to start to work it” on 10/14/2010. A record of
Simmons’ overtime request and payment is on file for this day (Please double check date—
Simmons’ OT was same day as my DAT).

80, On March 24th, 2011 Detective Simmons was called in front of Judge Sattler in Family
Court and asked if she had investigated my claims of abuse and if they were credible.
Simmons replied “no” (Exhibit #13 ) even though she had not questioned me about my
emergency room visits, reviewed photos of injuries taken by my neighbors, or
interviewed my building super, landlord or neighbors about the ongoing abuse. After
Simmons answered that she did not believe my allegations Judge Sattler allowed four
officers from the precinct to cuff me in the Family Court House on Lafayette St in her
courtroom and transport me back to the 28th precinct for booking and further processing
and arraignment. DETECTIVE SIMMONS HAD NEVER INVESTIGATED MY
ALLEGATIONS OF ABUSE & SHE PERJURED HERSELF IN OPEN COURT.

81. When I was in the cell in the squad room AFTER being arrested in Sattler’s court I
inquired as to why Simmons hadn’t investigated my claims. My home was 1.5 blocks
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from the Precinct on 122nd but no one in my brownstone was interviewed about the
constant abuse. Detective Simmons replied to my query: “Miss Price, when you lay on
your back and spread your legs while doing your job I’m not standing over you telling
you what to do and I sure as hell don’t expect you to tell me how to do mine...”

Complaint # # 11-31923 was marked “unsubstantiated” by It. Rentas and 11-43253 was
closed by a 28 squad investigator and closed by It. laburda: 678 1608. No one ever
contacted me to interview me regarding these complaints.

9/1/2011 Filed complaint vs. Officers Bright, Ebright and Raman as well as Sergeant
Agron for incident on 8/31. [AB complaint # 11-39869 PO EBRIGHT PO RAMAN and
PO Ehlers]. This complaint was marked by the 28 precinct as unsubstantiated by
someone named Lopez. Basically these cops instead of taking my report of death threats
by Raheem’s friends outside my home chided me, harassed me, and laughed in my face.
When they arrived on scene and Ebright said to me, “Miss Price I hope someday I am
called to your home and you are lying dead on the sidewalk with a knife in you...”

October 2011; filed IAB complaint # 11-49386 against 28 pct DV officers Rosendary
and Simmons WHO THREW AWAY MY 61 when I complained that Powell was
violating his restraining order. (exhibits 14 & 15) complaint cl-1-667494377. This
complaint was referred back to the precinct for investigation by the manager of the
officers, the SGT also marked my complaint as UNSUBSTANTIATED.

On October 25, 2011 I attempted to file a DIR report with the 28" precinct about a
violation of a restraining order Powell had committed on 10/21/11 against an order of
protection issued by Judge Sattler (Docket #0-00763-11, File # 1685, order #2011-1195
issued on 9/29/11 expiring on 3/29/12.) I was refused the opportunity to make a report of
the violation on the date of occurrence. I went back on subsequent days in an attempt to
file the report and Captain Williams, the CO of the 28th precinct, instructed his DV
officers to take the report. The DV officer who took the report eventually (id # 939468)
ripped up the report and refused to process it (Exhibit #14 copy of report ripped up by

DV officers), When following up the next week on the status of the DIR I was told it was
missing and that I was not invited back into the precinct to refile it. I was accompanied
on 12/01/11 by representatives from the St. Luke’s Roosevelt Hospital Crime Victims
Center back to the precinct to refile a new DIR (Exhibit #15.) The DIR was accepted by
the SGT (id # 933944). I at that time received an apology from the SGT about the
missing DIR and I provided a copy of the missing DIR to the SGT. The new DIR was
assigned to Detective Ransom of the 28th squad who did not follow-up on any
investigation regarding the complaint. In fact sgt Ransom engaged in a game of
telephone cat and mouse with me and Powell was never arrested, investigated or
questioned about his offense against the court order. A DIR was lost about a violation of
a restraining order and the superior marks the complaint about the loss and inaction to
protect my safety ‘unsubstantiated?”

In November of 2011 I filed complaint # 11-55009 against detective Simmons about her
perjuring herself under oath in front of Family Court Judge and failing to investigate my
abuse claims (see court transcript Exhibit #13). This was logged by Detective Rogers on
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11/29/2011. It was marked unsubstantiated by Lt. Franqui. No one called me or
followed up with me.

IV Details of attacks on my person that the 28th
precinct and other precincts in town refused to
follow up on because they were told by the MDAO
that I was no longer entitled to Police Services

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I was informed multiple times after being assaulted or threatened that the Manhattan DAs
office had instructed the precinct involved not to take my complaint or to not follow-
through on any investigation of my allegations. This happened on numerous occasions
notably: 6/3/2013, 5/17/13, 10/17/12, 07/27/12: (incident #2012-020-2969), 7/14/12,
4/17/12, 1/20/12, 12/1/11, 8/13/11, 8/4/11, 8/2/11. Attacks on my person and death
threats/harassment continued through 2013 when I moved out of the 28th precinct’s
domain. Please refer to incident report slips, jaywalking tickets, hospital records etc.

8/2/11: When assaulted (punched in the face and chest when I went outside to check my
mailbox) in front of my home by neighbors associated with the cousin of my ex intimate
partner and batterer, Raheem Andre Powell. I called 911. p.o. Cooley shield # 14327
responded and told me I was not allowed to receive police services, that the pct. had been
informed by the DAs office that I was ‘crazy’ and that even if he took an incident report
nothing would come of it. I called 911 around 1230 pm. Cooley and his partner arrived
at 1250 pm. I followed up the next day to get incident ID# and was ignored and never
received a call back from a detective investigating the assault or from the mousy grey-
haired mean-spirited clerk in the 29 pct who assigns the ID #. Eventually in 2012 Lt.
LaRocca looked up the incident and provided and ID# to me.

8/11/11: Told by associates of my ex intimate partner and batterer, Raheem Andre
Powell, who were exiting 239 w 120th next to my brownstone where Raheem operated
his drug distribution in apt #2 upstairs on the second floor in the back of the building
(overlooking my backyard and bedroom window) that ‘I would be taken care of? and that
I should fear for my life. Called 911 to report death threats around 330pm. P.O.
Bonaparte (did not provide shield #) responded with partner around 400pm and took
incident report. No one followed up with me. I followed up and received a complaint
number from It. larocca who looked it up for me; complaint # 2011-28-003732. No one
ever followed up with me about these threats or arrested the perps. They continued to
threaten and intimidate me each time I left my home and encountered them for the next
two years saying; ‘no one cares about you at the precinct; no one gives a shit if anything
happens to you Kelly...’

8/16/11: Assaulted by associate of RAP on my way home from store. Punched in the
face. called 911. Ambulance arrived and treated me, police took report and never
followed up. See photos of busted face taken by FDNY ambulance workers (Exhibit #1
photos dated 8/16/11)
